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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case No. 19-80030-CR-DIMITROULEAS
UNITED STATES OF AMERICA
vs.

ROBERT DIMAGGIO,

Defendant.
/

 

FACTUAL PROFFER
The United States of America and Defendant, Robert DiMaggio, agree that were this case
to proceed to trial, the government would prove beyond a reasonable doubt the following facts.
They further agree that these are not all the facts that the United States would prove if the case
proceeded to trial, but are sufficient to prove the crime of conspiracy to defraud the United States,
in violation of Title 18, United States Section 371, as charged against the Defendant in Count 1 of

the indictment.

As charged in Count 1 of the indictment, in Palm Beach County, in the Southern District
of F lorida, and elsewhere, Robert DiMaggio did willfully, that is, with the intent to further an
object of the conspiracy, and knowingly combine, conspire, confederate, and agree with Phillip
Braun, Aaron Singerman, and Blackstone Labs, LLC to defraud the United States by impairing,
impeding, obstructing, and defeating, through deceitful and dishonest means, the lawful functions
of the United States Food and Drug Administration (FDA), an agency of the United States
Department of Health and Human Services, in the FDA’s oversight and regulation of food, drugs,

and dietary supplements, in violation of Title 18, United States Code, Section 371.
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In or around 20 12, the Defendant, a resident of Henderson, Nevada, owned a company
selling products labeled as dietary supplements and employed Phillip Braun and Aaron Singerman.
Defendant had been selling a product to consumers, Super DMZ RX 2.0, which contained
dimethazine and methylstenbolone, each of which was a synthetic steroid, also referred to as a

“designer steroid” or “prohormone.” For a product like Super DMZ RX 2.0 to be a legal “dietary
supplement” under the Food, Drug, and Cosmetic Act (FDCA), it had to contain legal “dietary
ingredients.” Defendant knew that dimethazine and methylstenbolone were synthetic substances
designed to build muscle and were not legal dietary ingredients, and thus he knew that Super DMZ

- RX 2.0 was not a legal dietary supplement.

In early 2012, Defendant knew that the FDA, the federal agency that oversees and regulates
dietary supplements in the United States, was enforcing the FDCA with regards to dietary
supplements and synthetic steroids. To reduce the likelihood of the FDA’s closing or negatively
affecting his existing business, Defendant coordinated with Phillip Braun and Aaron Singerman to
incorporate Blackstone Labs, LLC (“Blackstone”) as a limited liability company in the State of
Florida in the summer of 2012. The Defendant, Braun, and Singerman would each be owners of
Blackstone, which operated primarily in Palm Beach County, in the Southern District of Florida.
This allowed Defendant to continue to profit from the sales of the Super DMZ RX 2.0 product,
which reduced his exposure to law enforcement, and allowed Singerman and Braun to earn a share
of profits. Defendant continued to live in Nevada and give Braun and Singerman advice on how

' to operate the company. Defendant remained an owner of the company until in or around May
2014, when he sold his ownership interest to Braun and Singerman, yet continued to receive

monthly payments from Blackstone until in or around September 2017. Braun and Singerman
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lived in South Florida and worked at Blackstone’s office. After receiving initial input from the
Defendant, Braun and Singerman ran Blackstone’s day-to-day operations.

Defendant, Singerman, and Braun established Blackstone to sell products falsely labeled
and marketed as “dietary supplements” throughout the United States. The first product that
Blackstone sold was “Super DMZ RX 2.0.” Before starting Blackstone, Defendant discussed
with Braun and Singerman his concerns that Super DMZ RX 2.0 was not a legal dietary
supplement. Nevertheless, Defendant, Braun, and Singerman agreed to proceed with selling Super
DMZ RX 2.0 through Blackstone. To conceal the illegal nature of Super DMZ RX 2.0 from
consumers and the FDA, Defendant, Braun, and Singerman used a web site, www.superdmz.com,
that falsely described the product as completely legal, even when the conspirators knew it was not
legal. -

Defendant discussed with Braun and Singerman other measures to avoid FDA scrutiny or
enforcement of the laws that prohibited the sale and distribution of Super DMZ RX 2.0 as a dietary
supplement. For instance, Defendant discussed what they and Blackstone ought to do if the FDA
were to contact Blackstone and instruct that a product like Super DMZ RX 2.0 was illegal to sell
under the FDCA.

In furtherance of the conspiracy alleged in Count 1, and to accomplish the object of
defrauding the United States, at least one of the co-conspirators committed and caused to be
committed, in the Southern District of Florida, and elsewhere, the following overt acts, among
others:

Overt Act 1: On or about August 28, 2012, the Defendant, Aaron Singerman, and Phillip
Braun conferred by telephone and Skype and decided Blackstone would register as a limited

liability company and sell a product known as Super DMZ RX 2.0.
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Overt Act 2: On or about August 29, 2012, the Defendant, Phillip Braun, and Aaron
Singerman caused Blackstone to be incorporated under the laws of Florida as a limited liability
company.

Overt Act 3: In or around August 2012, Blackstone, Phillip Braun, Aaron Singerman, and
the Defendant marketed and sold prohormones through the website, www.superdmz.com. |

Overt Act 4: In or around August 2012, the Defendant and Phillip Braun, Aaron Singerman,
and Blackstone Labs used the web site, www.superdmz.com, to sell Super DMZ RX 2.0, falsely
claiming that the product was a dietary supplement and that it was “100 % legal.”

Overt Act 5: On or about March 13, 2014, the Defendant, in an email to Aaron Singerman:
about FDA enforcement announcements concerning the designer steroid products Methadrol and
Super DMZ RX 2.0, told Singerman that “[o]nce you get an FDA letter I would move all the MDE
and SDMZ that is left to a different location (in case they [the FDA] show up), and remove them
from the website, and sell it to the retailers only til its [sic] gone.”

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

GUSTAV W. EYLER

DIRECTOR

U.S. DEPARTMENT OF JUSTICE
CONSUMER PROTECTION BRANCH

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By: ALISTAIR READER
T ATTORNEY
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Date Wraps 4 _ By: LOE pf
DAVID CERNE
SENIO ATION COUNSEL

U.S. DEPARTMENT OF JUSTICE
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Date: VE /G- 1G By:

 

RUSSELL J. WILLIAMS, ESQ.
FOR DEFENDANT

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DEFENDANT
